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      JOHN R. MORTON, JR.
      110 Marter Avenue
      Suite 301
      Moorestown, NJ 08057
      (856)866-0100
      Attorney for Wells Fargo Equipment Financing, Inc.
      JM5630___________________________                          UNITED STATES
                                                                 BANKRUPTCY COURT FOR
                                                                 THE DISTRICT OF NEW
                                                                 JERSEY
      IN RE:
        SHAPES/ARCH HOLDINGS L.L.C.                              CHAPTER 11
                                                                 CASE NO: 08-14631(GMB)
                                                                 HEARING DATE:

                                                                 CERTIFICATION OF
                                                                 SERVICE

      JOHN R. MORTON, JR., ESQUIRE, attorney for Wells Fargo Equipment Financing, Inc.
      hereby certifies as follows:

           1. I am the attorney for Wells Fargo Equipment Financing, Inc. and am fully familiar

               with the facts of this case.

           2. On 4/24/2008 , I mailed by regular mail a copy of the notice of motion, certification in

               support of motion and orders to the following individuals:

                       Shapes/Arch Holdings L.L.C.
                       9000 River Road
                       Delair, NJ 08110
                       Debtors

                       Jerrold N. Poslusny, Jr., Esq.
                       Liberty View, Suite 300
                       457 Haddonfield Road
                       Cherry Hill, NJ 08002
                       Attorney for the debtors

                       Office of the U.S. Trustee
                       One Newark Center
                       Suite 2100
                       Newark, NJ 07102
                       Trustee

                       CONTINUED
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                        Michael D. Sirota, Esq.
                        25 Main Street
                        Hackensack, NJ 07601
                        Attorney to Creditor Committee




                                                CERTIFICATION

        I hereby certify that the foregoing statements made by me are true. I am aware that if

        any of the statements made by me are willfully false, I am subject to punishment.


                                                         /s/ John R. Morton, Jr.
                                                         JOHN R. MORTON, JR.
                                                         Attorney for Wells Fargo Equipment
                                                         Financing, Inc.
